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                               UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA


FIREFIGHTERS’ RETIREMENT
SYSTEM, ET AL.                                                          CIVIL ACTION


VERSUS                                                                  13-373-SDD-EWD


CITCO GROUP LIMITED, ET AL.

                                       AMENDED JUDGMENT

          For the written reasons assigned in the Court’s previous Rulings1 in this matter:

          Judgment is hereby entered in favor of Defendants, Citco Group Limited, Citco

Fund Services (Cayman Islands) Limited, Citco Technology Management, Inc., and

Citco Banking Corporation, N.V., and against Plaintiffs, Firefighters’ Retirement System,

Municipal Employees Retirement System of Louisiana, and New Orleans Firefighters'

Pension & Relief Fund. Plaintiffs’ claims are dismissed with prejudice, and this matter

shall be terminated by the Clerk of Court. Furthermore, all of CFS Cayman’s

counterclaims against Plaintiffs are dismissed with prejudice.

          IT IS SO ORDERED.

          Signed in Baton Rouge, Louisiana on February 26, 2019.



                                                S
                                             CHIEF JUDGE SHELLY D. DICK
                                             UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF LOUISIANA



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    Rec. Doc. Nos. 917, 927, 928, and 929.
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